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1
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7
     Attorneys for Plaintiff, LAUREE GODWIN
8

9

10
                          UNITED STATES DISTRICT COURT
11
                        CENTRAL DISTRICT OF CALIFORNIA
12

13   LAUREE GODWIN, an individual,                    Case No.: 8:21-cv-00555- JLS-DFM
14
                             Plaintiff,               Assigned for all purposes to the
15        v.                                          Honorable Josephine L. Staton, Courtroom
16
                                                      10A
     BENNY HINN MINISTRIES, an entity of
17   unknown form; BENNY HINN, an
18
     individual; DON PRICE an individual: and         DECLARATION OF ATTORNEY
     DOES 1 through 20, inclusive,                    JONATHAN P. LACOUR, ESQ.
19

20                             Defendants.
                                                      [Plaintiff’s Motion for Attorneys’ Fees
21                                                     Filed Concurrently Herewith]
22

23                                                    HEARING DATE:          Oct. 22, 2021
                                                      TIME:                  10:30AM
24
                                                      CTRM:                  10A
25

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                                                -i-
                           DECLARATION OF JONATHAN P. LACOUR, ESQ.
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1                   DECLARATION OF JONATHAN P. LACOUR, ESQ.
2    I, Jonathan P. LaCour, declare as follows:
3         1. I am an attorney at law, authorized to practice law before all of the courts of the
4    State of California. My law firm, Employees First Labor Law, P.C., and I, are the
5    attorneys of record for Plaintiff Lauree Godwin in the matter Lauree Godwin v. Benny
6    Hinn Ministries, et al. I am familiar with the files, pleadings, and facts in this case and
7    could competently testify to the following:
8                              BACKGROUND INFORMATION
9         2. I am the President and Managing Attorney of Employees First Labor Law P.C.,
10   a law firm dedicated to protecting the rights of employees in the workplace. We are
11   singularly focused on prosecution of wage and hour and wrongful termination matters in
12   state and federal court and before various arbitration tribunals. I received my Juris
13   Doctorate from Loyola Law School in Los Angeles, California in 2011. I have been
14   admitted to the State Bar of California since 2012. Virtually my entire practice is
15   dedicated to labor and employment disputes, in which we represent clients, on a
16   contingency basis.
17                        LISA NOVECK, ESQ. & JESSICA GALINDO
18        3. I was assisted in this matter by Lisa Noveck, Esq., and Jessica Galindo. Lisa
19   Noveck, is a Senior Associate with Employees First Labor Law and Jessica Galindo is
20   our Senior Paralegal. Lisa Noveck is a future legal Rockstar that is going to have her
21   name embedded in many published opinions. Ms. Noveck graduated from Loyola Law
22   School within the top 5% of her graduating class, St. Thomas More, and Order of the
23   Coif, and immediately became Employees First Labor Law’s top motion drafter, trial
24   brief writer, and team lead for trial preparation. She is an exceptional brief and motion
25   writer and she was instrumental in developing the strategy that helped Plaintiff secure
26   the result we did in this matter. We have requested $425.00 per hour for her services, but
27   her knowledge and expertise are well beyond that price tag.
28        4. Jessica Galindo is a Senior Paralegal. She manages the litigation docket and
                                                   -1-
                              DECLARATION OF JONATHAN P. LACOUR, ESQ.
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1    spearheads the discovery aspect of cases. She was instrumental in handling the discovery
2    of this case and managing the filings and service. We have requested $225.00 per hour
3    for her services, an amount I know many AMlaw law firms to charge for paralegal at her
4    experience and skill level.
5                    JONATHAN LACOUR PERSONAL ACCOLADES
6         5. I have practiced labor and employment law for the past several years. During
7    that time, I have become a subject matter expert in employment law and routinely am
8    called upon by other attorneys to represent their friends, family members, and colleagues
9    in labor and employment disputes.
10        6. I am a member of the California Employment Lawyer’s Association (CELA),
11   and am also an active member of the Consumer Attorneys Association of Los Angeles
12   (CAALA).
13        7. I am regularly asked to speak at seminars on labor and employment issues and
14   trial strategy and publish articles regarding labor and employment issues. In 2019, 2020,
15   and 2021 I have been the keynote speaker for seven events broadcast to thousands of
16   dentistry professionals throughout California, through the California Dental Hygienist
17   Association (CDHA), for labor and employment law.
18        8. I am a member of the Million Dollar Advocates Forum and the Multi-Million
19   Dollar Advocates Forum, signifying that I have obtained results in excess of $1,000,000
20   and $2,000,000 respectively. In May of 2020, I was profiled in the Attorney Journal for
21   its Magazine Cover. Since 2017 I have been recognized by The National Advocates as
22   being a “Top 40 Under 40” legal professional. In January of 2021, I was appointed
23   President of the Top 40 Under 40.
24        9. Within my practice I have obtained a number of high six-figure and seven-figure
25   results. These include a $5,150,000 result in Hansen v. United Parcel Service, the 20th
26   highest result for a labor and employment matter in California for 2018, a $1,800,000 in
27   a sexual harassment result, a $920,000 result for disability discrimination, a $1,950,000
28   result for a wage and hour matter against LoanDepot.com, in addition to a myriad of
                                                -2-
                              DECLARATION OF JONATHAN P. LACOUR, ESQ.
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1    multiple 6-figure results.
2        10. I am aware of a number of attorneys who practice employment litigation in Los
3    Angeles County representing both plaintiffs and defendants. I am aware of many of their
4    hourly rates. I have also reviewed the Laffey Matrix in great detail and am aware of the
5    comparable billable hour rate for a professional of my skill level and tenure.
6                           JONATHAN LACOUR HOURLY RATE
7        11. I am requesting that this Court approve an hourly rate of $675.00 for my work
8    in this case, a rate that I believe to be the same as or less than those of many of my
9    contemporaries. I believe this rate is reasonable in light of the hourly rates being charged
10   by attorneys in Los Angeles County and Southern California. I am aware of many
11   attorneys at my level that charge above $750 per hour. Furthermore, I was recently
12   awarded attorney’s fees at a rate of $625.00 per hour by a Los Angeles Superior Court judge for
13   in April of 2021 for work performed in 2020.
14       12. As shown in Exhibit 1, my total hours expended in this case equate to 124.9
15   hours for the prosecution of this matter. With my requested hourly fee of $625.00 per
16   hour, this totals $84,307.50.
17       13. My total hours encompass all work I have done on this matter as of the time of
18   filing this motion, including investigatory work, client communication, interview of third
19   parties, preparation and amending of the pleadings, preparation of discovery requests,
20   preparation of discovery responses, and preparation of a policy limits demand (including
21   correspondence thereto).
22       14. My hours represent the blood, sweat, and tears involved in prosecuting this case:
23   the interruptions on vacation, long weekends, and late nights. It represents the magnitude
24   of effort it took to stave off 3 separate law firms and a barrage of personal attacks on
25   Plaintiff.
26                IMPORTANCE OF MULTIPLIER IN CONTINGENCY CASES
27       15. My firm has represented Plaintiff since the outset of the current proceedings.
28   The representation has been on a full contingency basis, with no retainer fee or costs paid
                                                    -3-
                               DECLARATION OF JONATHAN P. LACOUR, ESQ.
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1    by either Plaintiff at any time through the present. This motion itself is not compensated
2    and we derive no monetary benefit for drafting and filing this motion. This matter was
3    filed during the height of the pandemic with massive losses of income for employers and
4    a severe reduction in settlements and cases for employment lawyers.
5         16. My firm has not been paid any fee or for any of its costs as of the present and
6    has fronted costs and infrastructure to work on this matter. My firm’s contingency
7    agreement with Plaintiff provides for no compensation or reimbursement in the event it
8    is not successful for Plaintiff and, accordingly, poses a great financial risk for my firm,
9    particularly the longer a case goes on through litigation and, especially, once it reaches
10   trial.
11        17. The uncertainty of success in this matter was increased by Defendants’ ignoring
12   of this matter every step of the way until competent counsel was finally engaged, and
13   even then they fought tooth and nail. My office engaged in the preparation of many
14   litigation documents, and various other pleadings and investigation. Additionally,
15   discovery included form employment and general interrogatories, requests for production
16   of documents, special interrogatories, requests for admissions. The financial and time
17   investment made by my firm in this case is large and was of great risk.
18        18. This uncertainty continues to this day, as Defendants indicated they intend to
19   oppose this motion. Yet my firm has expended even more hours in preparing this motion
20   and analyzing the workload present for this case.
21        19. This litigation has precluded other employment for my firm. Because of the time
22   required to dedicate to the successful prosecution of this case my firm was precluded
23   from taking on other cases that it otherwise would have been able to take. Generally, my
24   firm is able to be retained on as many matters as it can handle. I estimate that as a result
25   of working on this case, my firm turned away an additional 5+ cases that would have
26   been accepted if not for the time constraint relating to this case.
27        20. Unfortunately, I would have to turn down cases. In doing so, I would generally
28   respond to written inquiries into our website, through Google, Bing, Avvo, and Yelp as
                                                  -4-
                              DECLARATION OF JONATHAN P. LACOUR, ESQ.
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1    follows: “I'm so sorry to hear that. Unfortunately, our firm has currently reached capacity
2    due to COVID related lawsuits and are not scheduling consultations at this time and
3    cannot accept clients for a short while. In the meantime I highly recommend reaching out
4    to the Workplace Justice Advocates at 310-300-[Redacted]. Tamara Freeze there would
5    be a great fit and she's an awesome attorney. Thank you. I wish you the best of luck. My
6    apologies for temporarily being at capacity. Jonathan P. LaCour, Esq. Managing
7    Attorney Employees First Labor Law.”
8        21. Further, in addition to the potential of an outright loss, even “victories” in
9    contingent fee cases can present economic difficulties to small law offices. While cases
10   are being litigated, counsel had to pay overhead, provide for their own expenses, and pay
11   the out-of-pocket expenses incurred on Plaintiffs’ behalf. The costs of a case like this one
12   through verdict can run into the high five and well into six figures. And, in some
13   contingent matters, the length of the case itself presents economic difficulty to the small
14   practitioner that is not adequately compensated by an eventual award of fees based solely
15   on the lodestar and without a multiplier. For example, if a case is disposed of by summary
16   judgment and then reversed on appeal later to be tried to verdict, the eventual award of
17   fees without a multiplier does not adequately compensate for the delay in payment. And,
18   during that delay, overhead and costs of litigation continue, even though no
19   compensation is forthcoming.
20       22. The prospect of a court-awarded fee does not greatly reduce the risk posed by
21   these cases. In many cases, the prospect is nothing more than a potential that never
22   materializes. First, you must win the case to get a court-awarded fee; even those cases
23   that seem strongest at the outset can be lost, and sometimes are lost. Second, there always
24   are pitfalls and unforeseen obstacles that arise along the way, such as settlement offers
25   that the client may accept without ensuring that counsel receives a reasonable fee, or
26   changes in the law that substantially affect the merits of the case, or other uncertainties
27   involving the client. Finally, there is the great risk inherent in advancing potentially tens
28   of thousands of dollars in out-of-pocket expenses. If that money were to be invested in
                                                  -5-
                              DECLARATION OF JONATHAN P. LACOUR, ESQ.
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1    some sort of financial investment, one would expect a reasonable rate of return on that
2    investment. Here, however, the best plaintiffs’ counsel can hope to recover is our money
3    back (without any investment return), and then only if we are substantially successful; if
4    not, all or part of this “investment” can be lost.
5        23. Plaintiff has already been delayed in receiving payment for damages, fees and
6    costs. Defendants’ violations began in 2011. Through the present, Defendants have not
7    compensated Plaintiff for any of the damages incurred. Nothing for economic damages.
8    Nothing for non-economic damages. Nothing for costs. Nothing for attorney’s fees.
9        24. For these and other reasons, as an attorney who takes cases on a contingent basis
10   with the availability of statutory attorneys’ fees, it is my opinion that an enhancement of
11   the hourly rate is necessary to make the fee in such cases reasonable, and to make it
12   feasible for attorneys to take such cases. Simply put, an award of the lodestar amount
13   without an enhancement does not compensate the attorney for the contingent risk
14   undertaken.
15       25. For these and other reasons, as an attorney who takes cases on a contingent basis
16   with the availability of statutory attorney's fees, it is my opinion that an enhancement of
17   the hourly rate by a factor of 1.5 is necessary to make the fee in such cases reasonable,
18   and to make it feasible for attorneys to take such cases. A multiplier is, in my opinion, a
19   necessary part of making sure that your fee award is fully compensatory. Simply put, an
20   award of the lodestar amount without an enhancement does not compensate the attorney
21   for the contingent risk undertaken.
22       26. Of note, any work myself and my staff performed on Plaintiff’s whistleblower
23   claims was also work being done on any number of Plaintiff’s other claims, if not all of
24   Plaintiff’s other claims. Put another way, there was no work that I or my staff performed
25   on the whistleblower claims that we did not also perform in furtherance of at least one
26   wage and hour claim.
27       27. For example, Plaintiff did not propound discovery requests specific to solely
28   one cause of action. Each request, on the other hand, sought facts that would support
                                                   -6-
                               DECLARATION OF JONATHAN P. LACOUR, ESQ.
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1    multiple or even all causes of action because of Plaintiff’s allegations that the very same
2    conduct by Defendants warranted each of Plaintiff’s claims.
3                                        MEET AND CONFER
4        28. Pursuant to Local Rule 7-3, I met and conferred with defense counsel, Zach
5    Bulthuis, on May 12, 2021 regarding Plaintiff’s intent to bring the instant motion for
6    fees.
7        29. After exchanging correspondence regarding Plaintiff’s attorney’s fees, the
8    parties were unable to agree upon a figure for fees, thus necessitating the need for the
9    instant motion.
10                                          EXHIBITS
11       30. Filed concurrently as Exhibits 1, 2, and 3 in Plaintiffs’ Appendix of Evidence
12   are true and correct copies of my law office’s timesheets for this matter in chronological
13   order. The exhibits are as follows: Exhibit 1, Hours of Jonathan P. LaCour, Esq.; Exhibit
14   2, Hours of Lisa Noveck, Esq.; Exhibit 3, Hours of Jessica Galindo. All of the time that
15   spent on this case was necessary to prepare this case properly and diligently.
16       31. Filed concurrently as Exhibit 4 in Plaintiffs’ Appendix of Evidence is a true and
17   correct copy of the 2014 National Law Journal Billing Survey, taken from
18   http://www.nationallawjournal.com/id=1202636785489/Billing-Rates-Across-the-
19   Country on October 15, 2020.
20       32. Filed concurrently as Exhibit 5 in Plaintiffs’ Appendix of Evidence is a true and
21   correct copy of an article from The National Law Journal, taken from
22   http://www.nationallawjournal.com/id=1202637587261/NLJ-Billing-Survey-1000-Per-
23   Hour-Isnt-Rare-Anymore on October 15, 2020.
24       33. Filed concurrently as Exhibit 6 in Plaintiffs’ Appendix of Evidence is a true and
25   correct copy of plaintiff’s Memorandum of Costs, filed on February 3, 2021.
26       34. Filed concurrently as Exhibit 7 in Plaintiffs’ Appendix of Evidence is a true and
27   correct copy of the Laffey Matrix demonstrating reasonable hourly rates as of the date of
28   this motion.
                                                 -7-
                              DECLARATION OF JONATHAN P. LACOUR, ESQ.
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1       35. Filed concurrently as Exhibit 8 in Plaintiffs’ Appendix of Evidence is a true and
2    correct copy of the May 2020 Attorney Journal Cover Story and Article for Mr. LaCour
3    and announcement of being selected as President of the National Advocates Top 40
4    Under 40.
5          I declare under penalty of perjury under the laws of the State of California, that
6    the foregoing is true and correct, and that this declaration was executed on May 21,
7    2021, at Pasadena, California.
8                                                 ___/S/ Jonathan LaCour________
                                                   JONATHAN P. LACOUR, ESQ.
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                             DECLARATION OF JONATHAN P. LACOUR, ESQ.
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24                                   EXHIBIT 1
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                           DECLARATION OF JONATHAN P. LACOUR, ESQ.
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                   Lauree Godwin v. Benny Hinn Ministries
                           Plaintiff: Lauree Godwin
                 Billable Hours for Attorney Jonathan LaCour

      Please note: As to not invade the province of attorney-client privilege,
      email correspondence and telephone communications do not include
      descriptions of the content. These billable hours only include Plaintiff’s
      case against Defendants and not the sham lawsuit filed by Defendants
      against Plaintiff.

April 10, 2020    Telephone call with Plaintiff. Receipt and review of
                  email correspondence from Plaintiff. Telephone call
                  with Plaintiff. Receipt and review of email re: Plaintiff
                  Documentation.                                              2.6

April 14, 2020    Telephone call with Plaintiff.                              0.3

April 15, 2020    Telephone call with Plaintiff.                              0.3

May 1, 2020       Several emails from Plaintiff. Receipt and review of
                  response to Plaintiff. Review of Plaintiff
                  Documentation. Receipt and review of email to
                  Plaintiff. Research re Benny Hinn Ministries. Receipt
                  and review of evidence.                                     3.4

May 3, 2020       Initial team review of Godwin v. BHM. Review of
                  Evidence and prior demand to Defendants.                    1.5

May 8, 2020       Email correspondence with Plaintiff. Calendaring
                  with Plaintiff.                                             0.6

May 9, 2020       Telephone call with Plaintiff for additional
                  documentation. Review of Benny Hinn Ministries
                  information                                                 0.9

May 11, 2020      Email correspondence to Plaintiff                           0.3

May 20, 2020      Email correspondence with Plaintiff. Receipt of
                  DLSE Complaint                                              0.8
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May 22, 2020      Email correspondence with Plaintiff.                     0.4

May 23, 2020      Email correspondence with Plaintiff.                     0.8

May 24, 2020      Email correspondence with Plaintiff.                     0.6

May 25, 2020      Email correspondence with Plaintiff.                     1.0

May 27, 2020      Email correspondence with Plaintiff. Telephone call
                  with Plaintiff.                                          1.1

May 28, 2020      Email correspondence with Plaintiff.                     0.2

June 13, 2020     Email correspondence with Plaintiff. Receipt and
                  review of correspondence from Benny Hinn Ministries
                  counsel, J. Matthew Anthony, Esq.                        0.5

June 14, 2020     Email correspondence with Plaintiff. Calendaring
                  with Plaintiff. Call with Plaintiff re discussion of
                  attorney correspondence. Email correspondence to
                  team. Receipt of information re DLSE. Forwarded to
                  Team.                                                    1.6

June 15, 2020     Receipt and review of email correspondence with
                  Plaintiff.                                               0.2

June 17, 2020     Receipt and review of email correspondence with
                  Plaintiff. Receipt and review of calendaring information. 1.2

June 18, 2020     Email correspondence with Plaintiff. Telephone call
                  with Plaintiff                                           0.7

June 19, 2020     Receipt and review of email correspondence with
                  Plaintiff. Team call with Plaintiff. Reviewing and
                  revising notes from meeting. Receipt and review of
                  team correspondence re Godwin v. BHM. Forwarding
                  information to team.                                     1.8

June 22, 2020     Receipt and review of team correspondence re
                  Godwin v. BHM. Receipt and review of additional
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                  evidence provided by Plaintiff.                            1.0

June 26, 2020     Draft, review, and revision to Plaintiff’s complaint.      4.0

June 30, 2020     Receipt and review of email correspondence with
                  Plaintiff. Responses to Plaintiff. Receipt and review of
                  response.                                                  0.8

July 2, 2020      Receipt and review of email correspondence with
                  Plaintiff. Responses to Plaintiff. Receipt and review of
                  response.                                                  0.8

July 3, 2020      Call with Plaintiff.                                       0.3

July 6, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                    0.2

July 10, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of notice of filing. Receipt
                  and review of correspondence from Defendants’ counsel
                  Miles Archer Woodlief including a complaint. Review
                  of complaint. Internal meeting re case strategy.        3.2

July 13, 2020     Receipt and review of correspondence with Plaintiff.       0.4

July 24, 2020     Receipt and review of conformed copies of Plaintiff’s
                  complaint, civil case cover sheet, and summons. Team
                  discussion re service of out of state defendants           0.6

July 28, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM. Correspondence to Plaintiff.                       0.8

July 29, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM. Correspondence to Plaintiff.                       0.8

July 31, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM. Correspondence to Plaintiff.                       0.4

Aug 3, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM.                                                    0.2
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Aug 4, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Correspondence with Defendants’ Counsel       1.0

Aug 7, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Correspondence to Plaintiff. Correspondence
                  with Defendants’ Counsel                              1.2

Aug 8, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Correspondence to Plaintiff.                  0.2

Aug 10, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Correspondence to Plaintiff.                  0.4

Aug 11, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Correspondence to Plaintiff. Receipt of
                  Information re DLSE.                                  0.8

Aug 12, 2020      Email correspondence with Plaintiff.                  1.0

Aug 13, 2020      Email correspondence with Plaintiff.                  0.6

Aug 14, 2020      Email correspondence with Plaintiff. Correspondence
                  with Defendants’ Counsel.                             0.8

Aug 17, 2020      Drafted correspondence to Department of Labor
                  Standards Enforcement (Labor Commissioner). Email
                  correspondence with the Labor Commissioner. Receipt
                  and review of email correspondence with Defendants’
                  counsel re Service of Process                         1.7

Aug 24, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                               0.2

Aug 27, 2020      Email correspondence with Plaintiff.                  0.6

Aug 28, 2020      Receipt and review of correspondence from One Legal.
                  Receipt and review of email Correspondence with
                  Defendants’ counsel re Service of Process            1.4
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Aug 29, 2020      Receipt and review of correspondence from One Legal.
                  Receipt and review of email Correspondence with
                  Defendants’ counsel re Service of Process            1.2

Aug 31, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Telephone call to Defendants’ counsel. Left
                  voicemail. Email correspondence with Defendants’
                  counsel.                                                1.2

Sept 1, 2020      Meeting with Plaintiff. Receipt of documents.           0.7

Sept 3, 2020      Receipt and review of correspondence from One Legal     0.2

Sept 8, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                 0.2

Sept 9, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                 0.2

Sept 11, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM.                                                 0.2

Sept 17, 2020     Receipt and review and revision to Plaintiff’s discovery
                  requests for Godwin v. BHM. Team correspondence.         1.6

Sept 30, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM.                                                 0.2

Oct 2, 2020       Receipt and review of correspondence from One Legal.
                  Receipt and review of team correspondence re Godwin
                  v. BHM.                                              0.4

Oct 15, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                 0.2

Oct 23, 2020      Receipt and review of correspondence with Defendants’
                  counsel, Miles Woodlief.                              0.4

Oct 29, 2020      Final review and edit and approval for Plaintiff’s
                  discovery requests to Defendants BHM. Receipt and review
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                  of correspondence from Defendants’ counsel, Miles
                  Woodlief.                                               1.8


Oct 30, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Email correspondence with Plaintiff. Receipt
                  and review of correspondence from Defendants’
                  counsel.                                                0.6


Nov 1, 2020       Receipt and review of email correspondence from
                  Defendants’ Counsel.                                    0.4

Nov 2, 2020       Receipt and review of several emails with Defendants’
                  counsel                                                 0.8

Nov 3, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM.                                                 0.2

Nov 5, 2020       Receipt and review of several emails with Defendants’
                  counsel. Scheduling of mediation with Judge James
                  Gray                                                    1.4

Nov 6, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM.                                                 0.6

Nov 9, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence to
                  Defendants’ counsel re Responsive pleading past due.
                  Scheduling of mediation with Judge James Gray           1.5

Nov 10, 2020      Receipt and review of correspondence from One Legal.
                  Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence to
                  Defendants’ counsel re Responsive pleading past due. 2.4

Nov 11, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                 0.2

Nov 13, 2020      Receipt and review of team correspondence re Godwin
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                  v. BHM. Receipt and review of correspondence to
                  Defendants’ counsel re Service of Don Price            0.4

Nov 17, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                0.2

Nov 18, 2020      Receipt and review of notice from Defendants counsel
                  Re cancellation of mediation. Cancelling mediation.    1.2

Nov 20, 2020      Receipt and review of notice from Defendants counsel
                  Re Answer filed. Team meeting re demurrer to answer.   2.4

Nov 21, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                0.2

Nov 24, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                    1.3

Dec 2, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                    0.6

Dec 3, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                    0.8

Dec 7, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                    1.0

Dec 9, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                    0.2

Dec 10, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of email correspondence
                  from Defendants’ third counsel, Zach Bulthuis.
                  Response. Telephone call to Defendants’ counsel        1.0
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Dec 11, 2020      Receipt and review of service of documents from One
                  Legal from Defendants’ counsel. Team correspondence 0.6

Dec 17, 2020      Correspondence with Plaintiff. Drafting of CCP 998
                  Demand. Telephone call with Plaintiff. Sent Demand to
                  Defendants’ Counsel. Email correspondence with
                  Defendants’ counsel.                                  1.9

Dec 18, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                      0.4

Dec 28, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                  0.2

Dec 31, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                      0.4

Jan 4, 2021       Receipt and review with correspondence to
                  Defendants’ counsel                                      0.2

Jan 7, 2021       Receipt and review with correspondence to
                  Defendants’ counsel. Receipt and review of discovery
                  responses from BMH. Outline for Meet and Confer
                  Letter                                                   2.2

Jan 29, 2021      Substantive correspondence with Plaintiff re discovery
                  responses.                                               1.2

Jan 30, 2021      Receipt and review of correspondence from Plaintiff re
                  discovery responses.                                     0.4

Feb 1, 2021       Substantive correspondence with Plaintiff re discovery
                  responses.                                               1.0

Feb 2, 2021       Substantive correspondence with Plaintiff re discovery
                  responses.                                               0.4

Feb 3, 2021       Receipt and review of team correspondence re Godwin
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                  v. BHM. Substantive correspondence with Plaintiff re
                  discovery responses.                                    1.3

Feb 4, 2021       Receipt and review of team correspondence re Godwin
                  v. BHM. Substantive correspondence with Plaintiff re
                  discovery responses.                                    1.4

Feb 9, 2021       Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                     0.6

Feb 16, 2021      Receipt and review with correspondence to Defendants’
                  counsel                                               0.2

Feb 17, 2021      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                     1.0

Feb 25, 2021      Receipt and review of service of documents from One
                  Legal. Team correspondence. Substantive
                  Correspondence with Plaintiff re discovery responses.   1.8

March 1, 2021     Receipt and review of service of documents from One
                  Legal. Team correspondence                              0.4

March 3, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel. Substantive correspondence with
                  Plaintiff re discovery responses.                       1.3

March 4, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel. Substantive correspondence with
                  Plaintiff re discovery responses. Email with opposing
                  counsel for Meet and Confer of discovery responses.     2.2

March 5, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel. Substantive correspondence with
                  Plaintiff re discovery responses.                       1.8
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March 9, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Team strategy meeting                            1.2

March 10, 2021    Substantive correspondence with Plaintiff re discovery
                  responses.                                               0.2

March 11, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Substantive correspondence with Plaintiff re
                  discovery responses. Receipt and review of discovery
                  responses and responsive documents.                      4.6

March 12, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Substantive correspondence with Plaintiff re
                  discovery responses. Receipt and review of discovery
                  responses and responsive documents.                      3.3

March 15, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Substantive correspondence with Plaintiff re
                  discovery responses. Receipt and review of discovery
                  responses and responsive documents.                      2.2

March 19, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Substantive correspondence with Plaintiff re
                  discovery responses. Receipt and review of discovery
                  responses and responsive documents. Review, edit,
                  finalizing discovery responses and documents. Review
                  of correspondence to Defendants’ counsel. Receipt and
                  review of Defendants’ meet and confer.                   6.2

March 21, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Substantive correspondence with Plaintiff.       1.2

March 22, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Substantive correspondence with Plaintiff re
                  additional documents                                     1.6

March 23, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Substantive correspondence with Plaintiff re
                  additional documents                                     0.4
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March 25, 2021    Receipt and review of One Legal notice re Service of
                  Process for Removal to Federal Court. Call from
                  Defendants Counsel. Receipt and Review of meet and
                  confer correspondence from Defendants Counsel re
                  Motion to Dismiss.                                      1.2

March 26, 2021    Receipt and review of correspondence with Defendants
                  counsel re removal, motion to dismiss, motion to remand,
                  and mediation. Receipt and review of docket activity and
                  assignment to Hon.Josephine L. Staton. Team meeting re
                  strategy.                                                2.8

March 29, 2021    Receipt and review of docket activity order setting rule
                  26(f) Scheduling conference. Team correspondence. Call
                  with Plaintiff.                                          0.9

April 1, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Substantive correspondence with Plaintiff re
                  additional documents. Receipt of notice for motion to
                  dismiss Donald Price. Team Meeting. Outline of
                  opposition.                                             2.5

April 2, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Discussion re Motion to Compel.                 0.3

April 5, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Discussion re Motion to Compel.                 0.3

April 7, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Discussion re Motion to Compel.                 1.2

April 8, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Discussion re Motion to Compel.                 0.4

April 26, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Discussion re Motion to Compel.                 0.6

April 28, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review off Rule 68 Offer. Team
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                  Meeting. Call with Plaintiff. Email to Plaintiff. Call with
                  Daniel Kramer. Call with Brian Breiter.                     3.2


                                                          Total Hours:        124.9

                                                        Hourly Rate:       $675.00

                                                    Total Balance:       $84,307.50
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                                     EXHIBIT 2
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                           DECLARATION OF JONATHAN P. LACOUR, ESQ.
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                  Lauree Godwin v. Benny Hinn Ministries
                          Plaintiff: Lauree Godwin
                  Billable Hours for Attorney Lisa Noveck

      Please note: As to not invade the province of attorney-client privilege,
      email correspondence and telephone communications do not include
      descriptions of the content. These billable hours only include Plaintiff’s
      case against Defendants and not the sham lawsuit filed by Defendants
      against Plaintiff.


May 3, 2020       Initial team review of Godwin v. BHM. Review of
                  Evidence and prior demand to Defendants                   1.5

June 13, 2020     Receipt and review of Correspondence from Benny
                  Hinn Ministries counsel, J. Matthew Anthony, Esq.         0.6

June 14, 2020     Receipt and review of email correspondence from
                  team. Receipt and review of information re DLSE.          0.8

June 19, 2020     Receipt and review of email correspondence with
                  Plaintiff. Team call with Plaintiff.                      0.9

June 23, 2020     Internal staff discussion re Plaintiff’s claims.          0.3

June 24, 2020     Follow up team meeting re scope of Plaintiff’s claims.    0.2

June 26, 2020     Review and edit Plaintiff’s complaint. Submit for final
                  review with team.                                         1.7

June 30, 2020     Receipt and review of email correspondence with
                  Plaintiff. Review of new documentary evidence.            0.6

July 2, 2020      Receipt and review of email correspondence with
                  Plaintiff.                                                0.3

July 6, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                   0.2

July 10, 2020     Receipt and review of team correspondence re Godwin
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                  v. BHM. Receipt and review of notice of filing. Receipt
                  and review of correspondence from Defendants’ counsel
                  Miles Archer Woodlief including a complaint. Review
                  of complaint. Internal meeting re case strategy.        3.4

July 13, 2020     Receipt and review of correspondence from Plaintiff.       0.3

July 24, 2020     Receipt and review of conformed copies of Plaintiff’s
                  complaint, civil case cover sheet, and summons. Team
                  discussion re service of out of state defendants           0.5

July 28, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM.                                                    0.2

July 29, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM.                                                    0.3

July 31, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence from
                  Plaintiff.                                                 0.6

Aug 3, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence from
                  Plaintiff.                                                 0.4

Aug 5, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM.                                                    0.3

Aug 7, 2020       Internal staff discussion re discovery strategy. Receipt
                  and review of correspondence from Plaintiff. Receipt
                  and review of correspondence from defense counsel.         1.3

Aug 10, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence from
                  Plaintiff.                                                 0.3

Aug 11, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence from
                  Plaintiff. Receipt of Information re DLSE.                 1.0
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Aug 12, 2020      Receipt and review of team correspondence re DLSE.
                  Receipt and review of correspondence from Plaintiff.     0.5

Aug 13, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                  0.2

Aug 14, 2020      Receipt and review of correspondence from defense
                  counsel.                                                 0.2

Aug 17, 2020      Receipt and review of correspondence regarding service
                  of Defendants. Receipt and review of correspondence to
                  Plaintiff regarding dates for her matter.              0.3

Aug 18, 2020      Receipt and review of correspondence from Plaintiff.     0.1

Aug 24, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                  0.3

Aug 27, 2020      Receipt and review of correspondence from Plaintiff re
                  DLSE. Receipt and review of team correspondence re
                  DLSE.                                                    0.4

Aug 28, 2020      Receipt and review of email Correspondence with
                  Defendants’ counsel re Service of Process. Receipt
                  And review of team correspondence.                       1.4

Aug 29, 2020      Receipt and review of email Correspondence with
                  defense counsel re Service of Process.                   0.3

Aug 31, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of email correspondence
                  with Defendants’ counsel.                                0.4

Sept 1, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                  0.2

Sept 9, 2020      Drafted correspondence to team re Godwin v. BHM.         0.2

Sept 10, 2020     Receipt and review of team correspondence re Godwin
                  v. BHM mediation.                                        0.2
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Sept 17, 2020     Receipt and review of Plaintiff’s discovery requests for
                  Godwin v. BHM. Receipt and review of team
                  correspondence. Internal team discussion re discovery.     0.8

Oct 6, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM mediation. Receipt and review of response re
                  mediation from defense counsel.                            0.3

Oct 23, 2020      Receipt and review of correspondence with Defendants’
                  counsel, Miles Woodlief. Internal discussion re
                  Plaintiff’s discovery requests. Receipt and review of
                  Team correspondence re service of individual defendant. 0.8

Oct 29, 2020      Receipt and review of team correspondence.                 0.2

Oct 30, 2020      Receipt and review of team correspondence.                 0.2


Nov 1, 2020       Receipt and review of email correspondence from
                  Defendants’ Counsel.                                       0.2

Nov 2, 2020       Receipt and review of several emails with Defendants’
                  Counsel. Drafted correspondence to Defendants’
                  counsel.                                                   0.9

Nov 3, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM.                                                    0.2

Nov 5, 2020       Receipt and review of team correspondence re
                  mediation. Receipt and review of several emails with
                  Defendants’ counsel.                                       0.6

Nov 9, 2020       Receipt and review of correspondence to Defendants’
                  counsel re Responsive pleading past due. Receipt and
                  review of correspondence regarding service of individual
                  Defendant.                                               0.4

Nov 10, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence to
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                  Defendants’ counsel re Responsive pleading past due.
                  Drafted correspondence to Defendants’ counsel re
                  Responsive pleading past due.                             1.2


Nov 13, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence to
                  Defendants’ counsel re service of individual defendant.   0.3


Nov 18, 2020      Receipt and review of notice from Defendants counsel re
                  Cancellation of mediation. Receipt and review of
                  correspondence cancelling mediation.                    0.4

Nov 20, 2020      Receipt and review of notice from Defendants counsel re
                  Answer filed. Team meeting re demurrer to answer.       2.4


Nov 24, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel regarding depositions.                0.7

Dec 2, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                       0.5

Dec 3, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Drafted correspondence to Defendants’ counsel 0.6

Dec 7, 2020       Receipt and review of team correspondence re Godwin v.
                  BHM. Receipt and review of correspondence from
                  Defendants’ counsel                                    0.4

Dec 9, 2020       Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                       0.2

Dec 10, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of email correspondence
                  from Defendants’ Third counsel, Zach Bulthuis. Internal
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                  staff communication re case strategy.                     0.6

Dec 11, 2020      Receipt and review of service of documents from One
                  Legal from Defendants’ counsel. Team correspondence       0.6


Dec 17, 2020      Review of CCP 998 Demand. Receipt and review of
                  email correspondence with Defendants’ counsel.            0.5

Dec 18, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence to
                  Defendants’ counsel                                       0.3

Dec 28, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM.                                                   0.2

Dec 31, 2020      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence to
                  Defendants’ counsel                                       0.3

Jan 4, 2021       Receipt and review of correspondence to Defendants’
                  counsel                                                   0.2

Jan 7, 2021       Receipt and review of correspondence to Defendants’
                  counsel. Receipt and review of discovery responses
                  from BMH.                                                 1.1

Jan 8, 2021       Receipt and review of further discovery responses from
                  BHM. Receipt and review of team correspondence.           0.8

Jan 11, 2021      Receipt and review of BHM’s discovery requests to
                  Plaintiff.                                                0.6

Feb 1, 2021       Review correspondence with Plaintiff re discovery
                  responses. Internal staff correspondence re Plaintiff’s
                  discovery responses.                                      0.4

Feb 3, 2021       Receipt and review of team correspondence re Godwin
                  Receipt and review of correspondence with Plaintiff re
                  discovery responses.                                      0.5
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Feb 4, 2021       Review and receipt of team correspondence re filing
                  deadlines.                                                0.3

Feb 5, 2021       Internal staff correspondence re meet and confer letter
                  for Plaintiff’s discovery requests.                       0.3

Feb 8, 2021       Internal staff correspondence re meet and confer letter
                  for Plaintiff’s discovery requests                        0.2

Feb 9, 2021       Receipt and review of correspondence with defense
                  Counsel.                                                  0.3

Feb 10, 2021      Internal staff correspondence re meet and confer letter
                  for Plaintiff’s discovery requests                        0.2

Feb 12, 2021      Internal staff correspondence re meet and confer letter
                  for Plaintiff’s discovery requests                        0.2

Feb 16, 2021      Receipt and review of correspondence with Defendants’
                  counsel                                                   0.2

Feb 17, 2021      Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence to
                  Defendants’ counsel. Internal staff correspondence re
                  Meet and confer letter for Plaintiff’s requests.          0.7

Feb 18, 2021      Review and edit meet and confer letter for Plaintiff’s
                  Discovery requests.                                       1.3

March 3, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review with correspondence with
                  Defendants’ counsel.                                      0.6

March 4, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of correspondence with
                  defense counsel. Internal staff correspondence re Godwin
                  v. BHM. Sent meet and confer letter to defense counsel. 0.7

March 5, 2021     Receipt and review of team correspondence re Godwin
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                  v. BHM. Receipt and review of correspondence with
                  Defendants’ counsel. Drafted correspondence to
                  Defendants’ counsel.                                      0.8

March 9, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Team strategy meeting                             1.2

March 11, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of discovery responses
                  and responsive documents. Internal staff discussion re
                  Godwin v. BHM.                                            2.2

March 19, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of discovery responses and
                  responsive documents. Review of correspondence to
                  Defendants’ counsel. Receipt and review of Defendants’
                  meet and confer. Respond to Defendants’ meet and
                  confer letter. Internal staff correspondence re Godwin
                  v. BHM                                                    2.5


March 22, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of additional documents
                  from Plaintiff. Receipt and review of correspondence
                  from Plaintiff.                                          0.8

March 23, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review of additional documents
                  from Plaintiff.                                          0.4

March 25, 2021    Receipt and review of One Legal notice re Service of
                  Process for Removal to Federal Court. Receipt
                  and review of meet and confer correspondence from
                  Defendants’ Counsel re Motion to Dismiss. Team
                  correspondence re remand.                                0.9

March 26, 2021    Receipt and review of correspondence with Defendants’
                  counsel re removal, motion to dismiss, motion to
                  remand, and mediation. Receipt and review of docket
                  activity and assignment to Hon. Josephine L. Staton.
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                  Team meeting re strategy. Draft correspondence to
                  defense counsel re mediation.                          3.1

March 29, 2021    Receipt and review of docket activity order setting
                  rule 26(f) scheduling conference. Team correspondence. 0.6

April 1, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt of notice for motion to dismiss Donald
                  Price. Team Meeting.                                   1.8

April 2, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Discussion re Motion to Compel.                0.3

April 5, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM.                                                0.2

April 7, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Draft correspondence to defense counsel re
                  Motion to Compel.                                      0.7

April 8, 2021     Receipt and review of team correspondence re Godwin
                  v. BHM. Draft correspondence to defense counsel re
                  Motion to compel.                                      0.5

April 13, 2021    Internal staff discussion re motion to remand.         0.4

April 26, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Draft correspondence to defense counsel re
                  Motion to Compel.                                      0.7

April 27, 2021    Internal staff discussion re motion to dismiss.        0.2

April 28, 2021    Receipt and review of team correspondence re Godwin
                  v. BHM. Receipt and review off Rule 68 Offer. Team
                  Meeting. Receipt and review of email to Plaintiff.     1.8

April 30, 2021    Receipt of correspondence from defense counsel.
                  Team meeting. Drafted formal acceptance of Rule
                  68 Offer.                                              0.8
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May 5, 2021       Receipt and review of correspondence to Plaintiff.       0.3




                                                          Total Hours:       63.0

                                                      Hourly Rate:       $425.00

                                                   Total Balance:      $26,775.00
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                                     EXHIBIT 3
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                           DECLARATION OF JONATHAN P. LACOUR, ESQ.
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                        Lauree Godwin v. Benny Hinn Ministries
                                Plaintiff: Lauree Godwin
                   Billable Hours for Senior Paralegal, Jessica Galindo

       Please note: As to not invade the province of attorney-client privilege, email
       correspondence and telephone communications do not include descriptions of the
       content. These billable hours only include Plaintiff’s case against Defendants and
       not the sham lawsuit filed by Defendants against Plaintiff.

June 13, 2020        Email correspondence with Plaintiff. Receipt, review and adding to files
                     of correspondence from Benny Hinn Ministries counsel, J. Matthew
                     Anthony, Esq.                                                     0.3

June 14, 2020        Email correspondence with Plaintiff. Calendaring with Plaintiff.
                     Email correspondence to team. Receipt and adding to files of
                     information re DLSE                                                 0.6

June 15, 2020        Receipt and review of email correspondence with Plaintiff.          0.2

June 22, 2020        Receipt and review of team correspondence re Godwin v. BHM.
                     Receipt, review and adding to files of additional evidence provided
                     by Plaintiff.                                                       1.0

July 6, 2020         Receipt and review of team correspondence re Godwin v. BHM.         0.2

July 10, 2020        Receipt and review of team correspondence re Godwin v. BHM.
                     Receipt, review and adding to files of notice of filing. Internal
                     Meeting re case strategy.                                           1.2

July 13, 2020        Receipt and review of correspondence with Plaintiff.                0.4

July 24, 2020        Filing of Plaintiff’s complaint, Civil case cover sheet, and summons.
                     Team discussion re Service of out of state defendants              1.0

July 28, 2020        Receipt and review of team correspondence re Godwin v. BHM.
                     Correspondence to Plaintiff.                                        0.8

July 29, 2020        Receipt and review of team correspondence re Godwin v. BHM.
                     Correspondence to Plaintiff.                                        0.8

July 31, 2020        Receipt and review of team correspondence re Godwin v. BHM.
                     Correspondence to Plaintiff.                                        0.4

Aug 3, 2020          Receipt and review of team correspondence re Godwin v. BHM.         0.2
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Aug 7, 2020       Receipt and review of team correspondence re Godwin v. BHM.
                  Correspondence to Plaintiff.                                     1.0

Aug 8, 2020       Receipt and review of team correspondence re Godwin v. BHM.
                  Correspondence to Plaintiff.                                     0.2

Aug 10, 2020      Receipt and review of team correspondence re Godwin v. BHM.
                  Correspondence to Plaintiff.                                     0.4

Aug 11, 2020      Receipt and review of team correspondence re Godwin v. BHM.
                  Correspondence to Plaintiff. Receipt of Information re DLSE.     0.8

Aug 12, 2020      Email correspondence with Plaintiff.                             1.0

Aug 13, 2020      Email correspondence with Plaintiff.                             0.6

Aug 14, 2020      Email correspondence with Plaintiff.                             0.8

Aug 17, 2020      Drafted correspondence to Department of Labor Standards
                  Enforcement (Labor Commissioner). Email correspondence with
                  The Labor Commissioner. Receipt and review of email
                  Correspondence with Defendants’ counsel re Service of Process 1.7

Aug 24, 2020      Receipt and review of team correspondence re Godwin v. BHM.      0.2

Aug 27, 2020      Email correspondence with Plaintiff.                             0.6

Aug 28, 2020      Receipt and review of correspondence from One Legal.
                  Receipt and review of email Correspondence with Defendants’
                  counsel re Service of Process                                    1.0

Aug 29, 2020      Receipt and review of correspondence from One Legal.
                  Receipt and review of email Correspondence with Defendants’
                  counsel re Service of Process                                    1.2

Aug 31, 2020      Receipt and review of team correspondence re Godwin v. BHM.      0.5

Sept 3, 2020      Receipt, review and adding to files of correspondence from One
                  Legal                                                            0.2

Sept 8, 2020      Receipt and review of team correspondence re Godwin v. BHM.      0.2

Sept 9, 2020      Receipt and review of team correspondence re Godwin v. BHM.      0.2

Sept 11, 2020     Receipt and review of team correspondence re Godwin v. BHM.      0.2
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Sept 17, 2020     Receipt and review and revision to Plaintiff’s discovery requests for
                  Godwin v. BHM. Team correspondence.                                 2.0

Sept 30, 2020     Receipt and review of team correspondence re Godwin v. BHM.        0.2

Oct 2, 2020       Receipt review and adding to files of correspondence from One Legal.
                  Receipt and review of team correspondence re Godwin v. BHM. 0.4

Oct 15, 2020      Receipt and review of team correspondence re Godwin v. BHM.        0.2

Oct 23, 2020      Receipt and review of correspondence with Defendants’ counsel,
                  Miles Woodlief.                                                0.4

Oct 29, 2020      Preparation and propounding of Plaintiff’s discovery requests
                  to Defendants BHM. Receipt and review of correspondence from
                  Defendants’ counsel, Miles Woodlief.                          2.0

Oct 30, 2020      Receipt and review of team correspondence re Godwin v. BHM.
                  Email correspondence with Plaintiff. Receipt and review of
                  correspondence from Defendants’ counsel,                           0.6

Nov 1, 2020       Receipt and review of email correspondence from Defendants’
                  Counsel.                                                           0.4

Nov 3, 2020       Receipt and review of team correspondence re Godwin v. BHM.        0.2

Nov 6, 2020       Receipt and review of team correspondence re Godwin v. BHM.        0.6

Nov 9, 2020       Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review of correspondence to Defendants’ counsel re
                  Responsive pleading past due. Scheduling of mediation with Judge
                  James Gray                                                       1.5

Nov 10, 2020      Receipt, review and adding to files of correspondence from One Legal.
                  Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review of correspondence to Defendants’ counsel re
                  Responsive pleading past due.                                    2.4

Nov 11, 2020      Receipt and review of team correspondence re Godwin v. BHM.        0.2

Nov 13, 2020      Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review of correspondence to Defendants’ counsel re
                  Service of Don Price                                               0.4

Nov 17, 2020      Receipt and review of team correspondence re Godwin v. BHM.        0.2
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Nov 20, 2020      Receipt and review of notice from Defendant’s counsel re
                  Answer filed. Team meeting re demurrer to answer.                2.4

Nov 21, 2020      Receipt and review of team correspondence re Godwin v. BHM.      0.2

Nov 24, 2020      Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel    1.3

Dec 2, 2020       Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel    0.6

Dec 3, 2020       Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel    0.8

Dec 7, 2020       Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel    1.0

Dec 9, 2020       Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel    0.2

Dec 10, 2020      Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review of email correspondence from Defendants’
                  Third counsel, Zach Bulthuis. Response. Telephone call to
                  Defendants’ counsel                                              1.0

Dec 11, 2020      Receipt, review and adding to files of service of documents from One
                  Legal from Defendants counsel. Team correspondence                0.6

Dec 17, 2020      Correspondence with Plaintiff. Email correspondence with Defendants’
                  counsel.                                                        1.9

Dec 18, 2020      Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel.   0.4

Dec 28, 2020      Receipt and review of team correspondence re Godwin v. BHM.      0.2

Dec 31, 2020      Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel.   0.4

Jan 4, 2021       Receipt and review with correspondence to Defendants’ counsel.   0.2

Jan 7, 2021       Receipt and review with correspondence to Defendants’ counsel.
                  Receipt and review of discovery responses from BMH.              2.2

Jan 29, 2021      Substantive correspondence with Plaintiff re discovery responses. 5.0
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Jan 30, 2021      Receipt and review of correspondence from Plaintiff re discovery
                  responses.                                                       5.0

Feb 1, 2021       Substantive correspondence with Plaintiff re discovery responses. 2.0

Feb 2, 2021       Substantive correspondence with Plaintiff re discovery responses. 3.4

Feb 3, 2021       Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re discovery responses. 2.0

Feb 4, 2021       Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re discovery responses. 4.0

Feb 9, 2021       Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel    0.6

Feb 16, 2021      Receipt and review with correspondence to Defendants’ counsel    0.2

Feb 17, 2021      Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel    1.0

Feb 25, 2021      Receipt, review and adding to files of service of documents from One
                  Legal. Team correspondence. Substantive correspondence with
                  Plaintiff re discovery responses.                                 2.0

March 1, 2021     Receipt, review and adding to files of service of documents from One
                  Legal. Team correspondence                                        0.4

March 3, 2021     Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re discovery responses. 2.0

March 5, 2021     Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt and review with correspondence to Defendants’ counsel.
                  Substantive correspondence with Plaintiff re discovery responses. 2.0

March 9, 2021     Receipt and review of team correspondence re Godwin v. BHM.
                  Team strategy meeting                                            1.2

March 10, 2021    Substantive correspondence with Plaintiff re discovery responses. 1.0

March 11, 2021    Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re discovery responses.
                  Receipt and review of discovery responses and responsive
                  documents.                                                        4.6
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March 12, 2021    Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re discovery responses.
                  Receipt and review of discovery responses and responsive
                  documents.                                                        3.0

March 15, 2021    Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re discovery responses.
                  Receipt and review of discovery responses and responsive
                  documents.                                                        2.0

March 19, 2021    Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re discovery responses.
                  Receipt and review of discovery responses and responsive
                  documents. Review, edit, finalizing discovery responses and
                  documents. Receipt and review of Defendants’ meet and confer. 3.0

March 21, 2021    Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff.                        1.2

March 22, 2021    Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re additional documents 1.0

March 23, 2021    Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re additional documents 0.4

March 25, 2021    Receipt, review and adding to files of One Legal notice re Service of
                  Process for Removal to Federal Court. Receipt and Review of meet and
                  confer correspondence from Defendants Counsel re Motion to
                  Dismiss.                                                            1.2

March 26, 2021    Receipt and review of correspondence with Defendant’s counsel re
                  removal, motion to dismiss, motion to remand, and mediation.
                  Receipt and review of docket activity and assignment to Hon.
                  Josephine L. Staton. Team meeting re strategy.                   1.5

March 29, 2021    Receipt and review of docket activity order setting rule 26(f)
                  Scheduling conference. Team correspondence.                       0.9

April 1, 2021     Receipt and review of team correspondence re Godwin v. BHM.
                  Substantive correspondence with Plaintiff re additional documents.
                  Receipt of notice for motion to dismiss Donald Price. Team Meeting
                  Outline of opposition.                                             1.0

April 2, 2021     Receipt and review of team correspondence re Godwin v. BHM.
                  Discussion re Motion to Compel.                                   0.3
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April 5, 2021     Receipt and review of team correspondence re Godwin v. BHM.
                  Discussion re Motion to Compel.                               0.3

April 7, 2021     Receipt and review of team correspondence re Godwin v. BHM.
                  Discussion re Motion to Compel.                               1.2

April 8, 2021     Receipt and review of team correspondence re Godwin v. BHM.
                  Discussion re Motion to Compel.                               0.4

April 26, 2021    Receipt and review of team correspondence re Godwin v. BHM.
                  Discussion re Motion to Compel.                               0.6

April 28, 2021    Receipt and review of team correspondence re Godwin v. BHM.
                  Receipt, review and adding to files of Rule 68 Offer. Team
                  Meeting.                                                      1.0




                                                              Total Hours:         98.4

                                                          Hourly Rate:          $245.00

                                                       Total Balance:        $24,108.00
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                                     EXHIBIT 7
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                           DECLARATION OF JONATHAN P. LACOUR, ESQ.
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                                                             Years Out of Law School *

                                                Paralegal/
                                     Adjustmt   Law
                  Year               Factor**   Clerk            1-3      4-7    8-10    11-19    20 +

                  6/01/20- 5/31/21 1.015894       $206       $378      $465     $672     $759    $914

                  6/01/19- 5/31/20    1.0049      $203       $372      $458     $661     $747    $899

                  6/01/18- 5/31/19    1.0350      $202       $371      $455     $658     $742    $894

                  6/01/17- 5/31/18    1.0463      $196       $359      $440     $636     $717    $864

                  6/01/16- 5/31/17    1.0369      $187       $343      $421     $608     $685    $826

                  6/01/15- 5/31/16    1.0089      $180       $331      $406     $586     $661    $796

                  6/01/14- 5/31/15    1.0235      $179       $328      $402     $581     $655    $789

                  6/01/13- 5/31/14    1.0244      $175       $320      $393     $567     $640    $771

                  6/01/12- 5/31/13    1.0258      $170       $312      $383     $554     $625    $753

                  6/01/11- 5/31/12    1.0352      $166       $305      $374     $540     $609    $734

                  6/01/10- 5/31/11    1.0337      $161       $294      $361     $522     $589    $709

                  6/01/09- 5/31/10    1.0220      $155       $285      $349     $505     $569    $686

                  6/01/08- 5/31/09    1.0399      $152       $279      $342     $494     $557    $671

                   6/01/07-5/31/08    1.0516      $146        $268      $329    $475     $536    $645
                   6/01/06-5/31/07    1.0256      $139        $255      $313    $452     $509    $614

                  6/1/05-5/31/06       1.0427        $136      $249      $305   $441      $497    $598
                  6/1/04-5/31/05       1.0455        $130      $239      $293   $423      $476    $574

                  6/1/03-6/1/04        1.0507        $124      $228      $280   $405      $456    $549
                  6/1/02-5/31/03       1.0727        $118      $217      $267   $385      $434    $522

                  6/1/01-5/31/02       1.0407        $110      $203      $249   $359      $404    $487
                  6/1/00-5/31/01       1.0529     $106         $195      $239   $345      $388    $468

                  6/1/99-5/31/00       1.0491        $101      $185      $227   $328      $369    $444
                  6/1/98-5/31/99       1.0439         $96      $176      $216   $312      $352    $424

                  6/1/97-5/31/98       1.0419         $92      $169      $207   $299      $337    $406
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                    6/1/96-5/31/97   #:300
                                   1.0396    $88    $162  $198 $287    $323   $389

                   6/1/95-5/31/96        1.032          $85      $155      $191    $276     $311     $375
                   6/1/94-5/31/95       1.0237          $82      $151      $185    $267     $301     $363


                 The methodology of calculation and benchmarking for this Updated Laffey Matrix has been
                 approved in a number of cases. See, e.g., McDowell v. District of Columbia, Civ. A. No. 00-
                 594 (RCL), LEXSEE 2001 U.S. Dist. LEXIS 8114 (D.D.C. June 4, 2001); Salazar v. Dist.
                 of Col., 123 F.Supp.2d 8 (D.D.C. 2000).

                 * “Years Out of Law School” is calculated from June 1 of each year, when most law
                 students graduate. “1-3" includes an attorney in his 1st, 2nd and 3rd years of practice,
                 measured from date of graduation (June 1). “4-7" applies to attorneys in their 4th, 5th, 6th
                 and 7th years of practice. An attorney who graduated in May 1996 would be in tier “1-3"
                 from June 1, 1996 until May 31, 1999, would move into tier “4-7" on June 1, 1999, and tier
                 “8-10" on June 1, 2003.

                 ** The Adjustment Factor refers to the nation-wide Legal Services Component of the
                 Consumer Price Index produced by the Bureau of Labor Statistics of the United States
                 Department of Labor.
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                                     EXHIBIT 8
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